         Case 5:23-cv-02885-JLS Document 55 Filed 01/24/24 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


ANDRE BOYER, et al,                            : CIVIL ACTION
                                               :
             v.                                : NO. 23-2885
                                               :
CITY OF PHILADELPHIA, et al.                   :


                                         ORDER

                AND NOW, this 24th      day of January, 2024, it is hereby ORDERED that oral

argument shall be held on all pending motions in this matter on March 11, 2024, at 2:00 p.m. in

the Courtroom of the undersigned, The Gateway Building, 201 Penn Street, 5th floor, Reading,

Pennsylvania.

                                               BY THE COURT:


                                               /s/ Jeffrey L. Schmehl
                                               Jeffrey L. Schmehl, J.
